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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )
                                        )    CR. S-08-543 GEB
12              Plaintiff,              )
                                        )   STIPULATION AND [PROPOSED] ORDER
13                                      )   CONTINUING STATUS CONFERENCE AND
           v.                           )   EXCLUDING TIME
14                                      )
     DONG SONG,                         )
15                                      )
                Defendant.              )    Hon. Garland E. Burrell, Jr.
16                                      )
17
18         The parties request that the status conference currently set
19   for April 2, 2010, be continued to June 11, 2010, and stipulate
20   that the time beginning April 2, 2010, and extending through June
21   11, 2010, should be excluded from the calculation of time under
22   the Speedy Trial Act.     The parties submit that the ends of
23   justice are served by the Court excluding such time, so that
24   counsel for the defendant may have reasonable time necessary for
25   effective preparation, taking into account the exercise of due
26   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
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1       The parties stipulate and agree that the interests of justice
2    served by granting this continuance outweigh the best interests
3    of the public and the defendant in a speedy trial.         18 U.S.C. §
4    3161(h)(7)(A).
5                                            Respectfully Submitted,
6                                            BENJAMIN B. WAGNER
                                             United States Attorney
7
8    Dated: March 30, 2010               By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
9                                           Assistant U.S. Attorney
10
     Dated: March 30, 2010               By:/s/ Kenny Giffard
11                                          KENNY GIFFARD
                                            Attorney for defendant
12                                          DONG SONG
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1                                         ORDER
2         For the reasons stated above, the status conference in case
3    number CR. S 08-543 GEB, currently set for April 2, 2010, is
4    continued to June 11, 2010; and the time beginning April 2, 2010,
5    and extending through June 11, 2010, is excluded from the
6    calculation of time under the Speedy Trial Act for effective
7    defense preparation.       The Court finds that interests of justice
8    served by granting this continuance outweigh the best interests
9    of the public and the defendant in a speedy trial.            18 U.S.C. §
10   3161(h)(7)(A) and (B)(iv).
11
12   IT IS SO ORDERED.
13   Dated:     March 31, 2010
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15                                     GARLAND E. BURRELL, JR.
16                                     United States District Judge

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